Filed 03/19/15                                     Case 09-31872                                               Doc 100


                                                                C"e                      FJLED

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    2
           Geoffrey Richards, Trustee
           Bankruptcy Trustee
           Chapter 7 Bankruptcy Trustee
           P0 Box 579
                                                                                L         192015

                                                                            UNITED STATES BANKRUPTCY COURT
                                                                             EASTERN DISTRICT OF CALIFORNIA


    3      Orinda, CA 94563
           (916) 288-8365
    4


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    6                                      UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF CALIFORNIA
    7

           In re:                                             Case No. 09-31872-C-7
    8


    9      LINDA L. BEDROSIAN-WHEELER                         Chapter 7

  10
                                                              NOTICE OF UNCLAIMED DIVIDENDS
           Debto
  11

           TO THE CLERK, UNITED STATES BANKRUPTCY COURT:
  12


  13       Please find attached hereto check number 3016 in the amount of $97,638.35 representing the

   14
           total amount of unclaimed dividends in the above-captioned estate, which will create a zero

           balance in the bank account. Said sum is paid over to you pursuant to Bankruptcy Rule 3011. The
   15
           name(s) and address(es) of the claimants entitled to said unclaimed dividends are as follows:
   16


   17     Claim #            Name & Address of Claimant               Claim Amount        Dividend Amount
                 N/A   Linda Bedrosian Wheeler (Debtor)                Surplus Funds -             97,638.35
   18
                       19 Seine Court                                  unable to locate       -
   19                  Sacramento, CA 95826                                     debtor
                                                            Total Unclaimed Dividends:            $97,638.35
  20


  21
           Dated: March 5, 2015
   22                                                GEOFFREY R                    ptcy Trustee

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